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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

LAWN MANAGERS, INC.,                                )
                                                    )
            Plaintiff,                              )
                                                    )
      v.                                            )          No. 4:16 CV 144 DDN
                                                    )
PROGRESSIVE LAWN MANAGERS,                          )
INC.,                                               )
                                                    )
            Defendant.                              )

                                        JUDGMENT ORDER

       This action was tried to the Court sitting without a jury, the undersigned United States
Magistrate Judge presiding by consent of the parties under 28 U.S.C. § 636(c)(3). The Court
having rendered its findings of fact and conclusions of law in its Memorandum Opinion, filed
herewith,
       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Plaintiff Lawn
Managers, Inc., have and recover from Defendant Progressive Lawn Managers, Inc.,
compensatory damages in the sum of $80,688.00, plus the sum of $71,346.00 for corrective
advertising, plus post-judgment interest thereon at the rate provided by 28 U.S.C. § 1961, plus
reasonable attorneys' fees and the costs of the action.
       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED as follows:
       1.          Defendant Progressive Lawn Managers, Inc., and its principals, officers, agents,
and employees (collectively "Defendant") is PERMANENTLY ENJOINED from using
plaintiff’s trademark “Lawn Managers” in connection with the marketing or operation of
defendant’s business. Defendant’s use of its own trademark, “Progressive Lawn Managers,”
must comply with the following terms:
              A.          The word “Progressive” must be of a larger font size than that used by the
                   words “Lawn Managers.”
              B.          The three words must use a color, or multiple colors in a pattern, that is
                   materially distinct from that used in plaintiff’s trademark as of the date of this
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                 Judgment Order. Should plaintiff elect to change the color of its trademark in its
                 business materials at a future date, defendant need not make subsequent changes.
            C.           No word may be placed inside a graphic or otherwise separated from the
                 other words.
            D.           Defendant must not represent to the public that it had been in business
                 prior to 2012. Defendant may represent to the public Linda Smith’s years of
                 experience with the industry, but must do so with the construction “__ years’
                 experience” rather than “__ years in business” or “in business since 19__.”
            E.           If Defendant ceases to use the word "Managers" in its trademark, it is not
                 prohibited from using "Lawn" or the word "Progressive" or either of them.
       2.        Defendant must replace all signage currently in use that does not comply with the
terms listed above.
       3.        Defendant must issue a written notice letter to all of its current and former
customers of the period January 1, 2015, to the date of this Judgment Order. This letter must
prominently display the following terms:
            A.           Plaintiff and defendant are separate, competing companies. Defendant’s
                 CEO and staff were formerly affiliated with plaintiff until 2012, whereupon they
                 separately incorporated as Progressive Lawn Managers.
            B.           Correct and distinct contact information, including payment address, for
                 plaintiff.
            C.           Correct and distinct contact information, including payment address, for
                 defendant.
       4.        Defendant must notify all government agencies, domain name registrars, banks,
business directories, telephone directories, listing companies, advertising listings, and any other
such entity that defendant is no longer using the name “Lawn Managers.” Defendant must direct
all such entities to change their records to reflect defendant’s correct name.
       5.        Defendant must relinquish ownership of the URL “lawnmanagersinc.com.” Any
additional domain names or URLs under defendant’s control that use the words “Lawn
Managers” must also be relinquished, unless they are immediately preceded by the word
“Progressive.” If abbreviated, such domain names or URLs will also be relinquished unless the
letters “LM” are immediately preceded by the letter “P.”

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       6.      Defendant will respond to telephone inquiries for “Lawn Managers” with correct
and distinct contact information for plaintiff, including the fact that plaintiff and defendant have
been separate companies since 2012. Plaintiff must likewise respond to telephone inquiries for
“Progressive” or “Progressive Lawn Managers.”
       7.      Within 30 days of the date of this Judgment Order, Defendant must permanently
remove the advertising video previously located on its "Contact Us" internet website plmi.us
from any location on the internet where the video appears.
       8.      Within 30 days of the date of this Judgment Order, Defendant must transfer the
telephone number 636-677-1122 to Plaintiff.
       9.      Counsel for defendant must report to the Court in writing regarding the
completion of the actions set forth above within 60 days of the entry of this Judgment Order.
       10.     The Court shall retain jurisdiction over this action to enforce this permanent
injunction entered against defendant Progressive.
       11.     Pursuant to 15 U.S.C. § 1116, the Clerk of the Court will notify the Commissioner
of Patents and Trademarks of the entry of final judgment, who will enter it upon the records of
the United States Patent and Trademark Office.

                                                     /s/ David D. Noce   k
                                              UNITED STATES MAGISTRATE JUDGE


Signed on June 11, 2018.




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